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                          DECLARATION OF MY KHANH NGO

I, My Khanh Ngo, make the following declaration based on my personal knowledge and declare
under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and correct.

   1. I am a licensed attorney and a member in good standing of the California Bar. I have been
      a Staff Attorney at the American Civil Liberties Union Immigrants’ Rights Project (IRP)
      since October 2019.

   2. On February 7, 2025, I first spoke with Eucaris Carolina Gomez Lugo, a Venezuelan
      national who believed that her brother, Tilso Ramon Gomez Lugo, was one of the
      immigrants transferred from Texas to the U.S. Naval Base at Guantánamo Bay, Cuba
      (“Guantánamo”).

   3. Using the information provided by Ms. Gomez Lugo, I looked up her brother on the U.S.
      Immigration and Customs Enforcement (“ICE”)’s “Detainee Locator” system:
      https://locator.ice.gov/odls/. The website displayed Mr. Gomez Lugo’s “Current
      Detention Facility” as the El Paso Processing Center. From February 7 until the morning
      of February 10, it showed Mr. Gomez Lugo’s “Current Detention Facility” as the El Paso
      Processing Center.

   4. On February 7, I called the El Paso Processing Center and, when I could not get through
      to an individual, I sent an urgent request to the facility to schedule a video-telephone
      conference call over the weekend with Mr. Gomez Lugo. The morning of February 8, the
      facility sent a response stating, “Detainee is not booked into this facility.”

   5. That same day, February 8, I finally reached an individual over the phone at El Paso
      Processing Center, who also confirmed that Mr. Gomez Lugo was no longer at the facility.
      He stated that Mr. Gomez Lugo was transferred from the facility “to Miami” on February
      4, and he did not have any more information about Mr. Gomez Lugo’s location.

   6. Throughout February 8 and 9, I called the ICE Field Office in Miami, as well as the
      Krome Processing Center (“Krome”) located in Miami. I was not able to reach anybody at
      the ICE Field Office in Miami or Krome over the weekend.

   7. My understanding from local partners was that Krome is sometimes entangled with the
      Broward County Transitional Center (“Broward”) at Pompano Beach, and that individuals
      from Krome are often moved to Broward for lack of space. However, after several
      attempts, I reached an individual working at Broward on February 8 who confirmed that
      he did not see Mr. Gomez Lugo in their system.

   8. On February 8 and 9, I tried the main phone number and emergency phone number for
      Krome multiple times, and did not reach through to anyone. I also left several voice
      messages, but did not receive a response. I submitted an urgent request for a video-
      telephone conference call on February 8 to Krome, which I resubmitted twice on February
      9.
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9. On February 10, I received three email messages from Detention Officer C. Phillips at
   Krome. The first email at stated that I needed to complete a form and return it with client
   information. Officer Phillips followed up within a few minutes to send two more emails,
   stating: “Please be advise [sic] the detainee you are requesting is currently not housed in
   this facility.” I followed up with the completed form and asked for clarification. Officer
   Phillips sent two other emails, confirming that “Lugo Gomez [sic] is no longer housed at
   this facility.”

10. On February 10, I reached Deportation Officer Juan Cuevas at the ICE Field Office in
    Miami who confirmed that Mr. Gomez Lugo does show up in their system as having been
    transferred to Miami. When asked for clarification of his location, Officer Cuevas took
    several minutes to speak with his supervisor before stating that he could confirm that Mr.
    Gomez Lugo was in ICE custody and is in transit to his final destination. When I asked to
    speak with Mr. Gomez Lugo, Officer Cuevas stated that I could not reach him because he
    is in transit. When I went to check the ICE Detainee Locator online, it was changed and
    now listed for Mr. Gomez Lugo’s current detention facility as “Call Field Office” and
    under the state of Florida. When I clicked for further information, it listed phone numbers
    for both the ICE Field Offices in Plantation, Florida, and El Paso, Texas.

11. On February 10, I first spoke with Angela Carolina Sequera, a Venezuelan national who
    believed that her son, Yoiker David Sequera, was one of the immigrants transferred from
    Texas to Guantánamo. Using the information provided by Ms. Sequera, I looked up her
    son on ICE’s Detainee Locator, which showed his current detention center as the El Paso
    Processing Center. I called the facility several times before speaking with an officer who
    stated that two planes had left the facility that morning and that it was possible Mr.
    Sequera was no longer there. The officer told me to call back the next morning. I also
    submitted an urgent request for a video-telephone conference call at the facility.

12. On February 11, I received an email message from the facility stating that Mr. Sequera “is
    not at this location.” When I checked ICE’s Detainee Locator again later that morning, it
    showed the same information as for Mr. Gomez Lugo: that Mr. Sequera’s was in ICE
    custody, in Florida, and directing the viewer to “Call Field Office.”

13. On February 11, I spoke with Yajaira Del Carmen Castillo Rivera, a Venezuelan national
    who believed her brother, Luis Alberto Castillo Rivera, was one of the immigrants
    transferred from Texas to Guantánamo. Using the information provided by Ms. Castillo, I
    looked up her brother on ICE’s Detainee Locator, which also showed the same
    information as Mr. Gomez Lugo and Mr. Sequera: that Mr. Castillo was in the state of
    Florida, in ICE custody, and to “Call Field Office.”

14. On February 11, I called the ICE Field Offices in Plantation, Florida, and El Paso Texas,
    several times to inquire about Mr. Gomez Lugo, Mr. Sequera and Mr. Castillo. However,
    no one answered those phone calls and there was no ability to leave a voice message. ICE
    has provided no further details of the locations of those three individuals, nor any means
    of communicating with them.
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   15. I certify that attached as Exhibit A is a true and correct copy of a screenshot of the ICE
       Detainee Locator results for Mr. Gomez Lugo as February 11, 2025, at 6:08pm PT (with
       A# redacted).

   16. I certify that attached as Exhibit B is a true and correct copy of a screenshot of the ICE
       Detainee Locator results for Mr. Sequera as of February 11, 2025, at 6:13pm PT (with A#
       redacted).

   17. I certify that attached as Exhibit C is a true and correct copy of a screenshot of the ICE
       Detainee Locator results for Mr. Castillo as of February 11, 2025, at 6:50pm PT (with A#
       redacted).

   18. I certify that attached as Exhibit D is a true and correct copy of a document titled
       “Program Statement: Inmate Telephone Regulations” that was produced on January 31,
       2025, by the Federal Bureau of Prisons in the Freedom of Information Act case:
       American Civil Liberties Union Foundation of Southern California v. Federal Bureau Of
       Prisons et al., No. 2:24-cv-09123-MWC-BFM (C.D. Cal.).



Executed this 11th day of February, 2025, in Oakland, California.




______________________
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                EXHIBIT B
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                EXHIBIT C
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